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l [Proposed] Geheral Insolvency Counsel

for Debtors and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT . ‘|
DISTRICT OF NEVADA

In re:

|j X_TREME BULLETS, INC.,
|:] AMMO LOAD WORLDWIDE, INC.,
[| CLEARWATER BULLET, INC.,
|:| FREEDOM MUNITIONS, LLC,
|:] HOWELL MACHINE, INC.,
§ HOWELL MUNITIONS &
TECHNOLOGY, INC.,
[| LEWIS-CLARK AMl\/IUNITION AND
cOMPONENTS, LLC,
|j COMPONENTS EXCHANGE, LLC, an
All Debtors.
Debtors and
Debtors-iri-Possession.

 

 

 

 

Jointly Administered unde'r
Case No. 18-50609-btb with

Case Nos. 18-50610-btb; 18-50611-btb;
18-50613-btb; 18-50614-btb; 18-50615-btb;
18-50616-btb; and 18-50617-btb

Chapter 11 Proceedings

DEBTORS’ EMERGENCY MOTION FOR
ORDER AUTHORIZING USE OF ANY
CASH COLLATERAL OF SECURED
CLAIMANTS; MEMORANUDM OF
POINTS AND AUTHORITIES IN SUPPORT
OF THE MOTION

[DECLARATIONS 0F DAVID HoWELL
AND J. MICHAEL ISSA IN sUPPoRT oF
MoTIoN FILED CONCURRENTLY
HEREWITH]

DATE: June 14, 2018
TIME: 2:00 p.m.
EST. TIME FOR HEARING: 15 minutes
PLACE: Coumoom 2 (5“‘ Floor)
C. Clifton Young Federal Bldg.
300 Booth Street
Reno, NV 89509

234103

 

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X-'l`reme Bullets Inc., a Nevada corporation; Ammo Load Worldwide, Inc., an Idaho
corporation; Clearwater Bullet, Inc., an Idaho corporation; Freedom Munitions, LLC, an Idaho
limited liability company; Howell Machine, Inc., an Idaho corporation; Howell Munitions &
Technology, Inc., an Idaho corporation; Lewis-Clark Ammunition Components, LLC, a Idaho
limited liability company (collectively, the “HMT Debtors”); and Components Exchange, LLC,
an Idaho limited liability company (“Components” and, together with the Hl\/IT Debtors, the ‘i - \
“Debtors”), by and through their proposed counsel ROBERT E. OPERA, ESQ. of WINTHR'OP.
COUCHOT GOLUBOW HOLLANDER, LLP and STEPHEN R. HARRIS, ESQ. of HARRI|S ’ ‘ "3 l `
LAW PRACTICE LLC, hereby move the Court, on an emergency basis, for an order ` 1
(i) authorizing the Debtors to use any “cash collateral,” as such tennis defined in Sectio`n 363("a): " `

of the Bankruptcy Code, of the secured claimants in these cases, including, but not limited to,

\ any cash collateral of the Debtors’ primary pre-petition secured lender,`Zions First Na'tional ' '

Bank (“Bank”), and to grant to the Bank and to any such other secured claimants (together with '
the Bank, collectively, “Secured Claimants”) post-petition replacement liens as and for adequate
protection of the Debtors’ use of any cash collateral of the Secured Claimants, in accordance
with the terms and conditions set forth herein; and (ii) setting a final hearing on this Motion.

Good cause exists to` grant the relief requested by this Motion. As set forth in detail in
the Declaration of David Howell filed concurrently herewith (“Howell Declaration”), the
Debtors require immediate access to any cash collateral in order to ensure that the Debtors have
funds sufficient to pay their accruing operating expenses and thereby preserve the value of their
estates for the benefit of the Debtors’ creditors. Absent immediate access to cash collateral, the
Debtors will not be able to pay their accruing operating expenses, including payroll expenses
associated with the Debtors’ employees, and the Debtors will be required to terminate their
business operations and convert their Chapter ll cases to ones under Chapter 7 of the
Bankruptcy Code, with a resulting substantial loss in the value of the Debtors’ estates, to the
severe detriment of the Debtors and the Debtors’ creditors.

In accordance with the provisions of Rule 4001(b) of the Federal Rules of Bankruptcy

Procedure, the following is a statement of the relief requested by the Debtors herein.

 

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The following Secured Claimants may assert an interest in cash collateral: the
Bank; and, possibly, Integrity Bank, which assert a lien junior to the Bank’s liens.
The Debtors seek the use of any cash collateral to pay the expenses of operating
their businesses, including to pay payroll obligations and purchase inventory.

The terms of the Debtors’ proposal for the use of any cash collateral are set forth
at pages 19-22 hereof.

The" Debtors propose to provide replacement liens to any Secured Claimant

i-having a valid interest in cash collateral in accordance with the provisions set

forth in pages 20-21 hereof. The Debtors believe that the proposed replacement
liens provide adequate protection to the Secured Claimants, as described in pages .

24-34 hereof. Moreover, the Debtors believe that any interests of Secured

'Claimants in cash collateral is adequately protected by an ample equity cushion,

as described in pages 35-37 hereof.

. rl"\his Motion is made and based upon the foregoing allegations and representations, the

Memorandum of Points and Authorities attached hereto and the Howell Declaration and the '

Declaration of J. Michael Issa (“Issa Declaration”) filed concurrently herewith, and upon such

other evidence, both oral and documentary, that may be submitted to the Court at or before the

time of the hearing on this Motion.

WHEREFOR_E, the Debtors request that this Court enter an order:

1.

Finding that the Secured Claimants’ interests in any cash collateral are adequately
protected;

Authorizing, on an interim basis pending a final hearing on notice to creditors,
the Debtors’ immediate use of any cash collateral of the Bank and any other
Secured Claimants pursuant to the terms and conditions contained in this Motion;
Setting a final hearing on this Motion in accordance with the requirements of the

Federal Rules of Bankruptcy Procedure and the Local Bankruptcy Rules; and

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4. Granting to the Debtors such other and further relief as may be just and

appropriate under the facts and circumstances of these cases.

Dated: June 13, 2018 WINTHROP COUCI-IO'I`
GOBUBOW HOLLANDER, LLP

By: /s/ Robert E. Opera

Robert E. Opera

Peter W. Lianides

Andrew B. Levin
[Proposed] General Insolvency Counsel
for Debtors and Debtors-in-Possession

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MEMORANDUM OF POINTS AND AUTHORITIES
I.
INTRODUCTION

The Debtors are in the business of manufacturing and selling small arms ammunition
components and assembling ammunition The Debtors also custom build ammunition
manufacturing equipment, and repair and refurbish existing ammunition manufacturing
equipment The Debtors sell ammunition from company-owned brands, which they manufacture
in-house, as well as ammunition from third-party manufacturers, which they source as finished
goods. The Debtors manufacture ammunition using raw materials from outside suppliers, but
make most bullets and cases at their facilities

The Debtors operate four facilities in Idaho, including three production facilities and one
distribution center, and operate a production facility in Carson City, Nevada. The Debtors also
operated a retail ammunition store located.in Houston, Texas.

In 2016, the Debtors, together with two non-debtor affiliates, Twin River Contract
Loading, Inc. and Big Canyon Environmental, LLC, generated, on a consolidated basis,
approximately $104,671,762 in net sales. In12017, the Debtors and such other affiliates generated,
on a consolidated basis, approximately $74,624,7.45 in net sales. As of mid-April 2018, the
Debtors employed approximately 150 employees The Debtors continue to operate their
businesses, and it is the Debtors’ objective by these Chapter 11 cases to reorganize their financial
affairs for the benefit of their creditors.l

The Debtors need immediate access to cash collateral in order to operate their businesses
The Debtors need cash collateral in order to purchase inventory necessary to manufacture their
products and to pay for the costs associated with selling their products Moreover, the Debtors’
payroll obligations must be funded by the Debtors by June 18, 2018 so that the next payroll
obligations to employees can be paid by June 20, 2018. Without immediate access to cash

collateral, the Debtors will not be able to pay their employees, resulting in a loss of employees

 

1 Twin River Contract Loading, Inc. did not file for Chapter ll relief because the value of the business is

questionable Big Canyon Environmental, LLC did not file for Chapter ll relief because it no longer conducts any

business operations and it has no present intention to resume operations

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necessary to the Debtors’ businesses and the Debtors’ businesses will grind to a halt, resulting in
the loss of enterprise value of the Debtors’ businesses and the destruction of millions of dollars in
value. Authorizing the Debtors’ immediate use of cash collateral, therefore, is essential to the
Debtors’ efforts to reorganize their financial affairs for the benefit of the Debtors’ creditors
II.
STATEMENT OF FACTS

A. General Descrintion of the ;Debtors.

David Howell (“Mr. Howell”)¢.is the principal of each of the Debtors Mr. Howell founded
Debtor Howell Machine, Inc. approximately 29 years ago.

On January 1, 2014, Mr. Howell:caused Howell Munitions & Technology, Inc. (“HMT”)

to be formed. Mr. Howell owns 95% of the issued and outstanding shares of stock in HMT.

\HMT, in turn, is the sole-shareholder of the-following Debtors: X-Treme Bullets, Inc. (“X-

Treme”); Clearwater Bullet,~Inc. (“Clearwater"~);' Ammo Load Worldwide, Inc. (“ALW”); and
Howell Machine, Inc. (“Howell Machine”). HMTv is the sole member of Debtor Freedom
Munitions, LLC (“Freedom”). Mr. HoWell owns '1‘00% of the membership interests in Debtor
Lewis-Clark Ammunition Components, LLC (“LCA`C”.).` Mr. Howell owns 90% of the
membership interests in Components Exchange, LLC (.“._Components Exchange”).
A description of each Debtor and its operations is set forth hereinbelow.
1. M. HMT is the parent company of Debtors X-Treme, Clearwater, ALW,
Howell Machine and Freedom. While Debtors X-Treme, Clearwater, ALW,
Howell Machine, Freedom and LCAC are legal entities separate from HMT, HMT
and these Debtors have operated at all times on a consolidated basis
2. X-Treme. X-Treme is a Nevada corporation located in Carson City, Nevada. An
affiliate of Mr. Howell purchased the assets of X-'I`reme in or about 2009. X-
Treme is iri the business of manufacturing bullets X-Treme’s bullets are sold to
wholesale customers and to online customers Via the xtremebullets.com website.
X-Treme operates from two buildings located in Carson City, Nevada, both of

which are leased by HMT. Mr. Howell is the owner of one of such buildings

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Clearwater. Clearwater is an Idaho corporation located in Lewiston, Idaho.
Clearwater was founded by Mr. Howell in or about 2008. Clearwater is in the
business of manufacturing bullets Clearwater’s bullets are sold to wholesale
customers and to online customers via the xtremebullets.com website. Clearwater
operates from a facility located in Lewiston, Idaho which is leased by HMT from
Mr. Howell.

M. ALW is an Idaho corporation .-located in Lewiston, Idaho. Howell Machine
purchased the assets of ALW-infor-~.about 2003. ALW is in the business of
manufacturing ammoload machines and other machines for resale to third-party
customers ALW operates in Lewiston; Idaho from buildings leased by HMT from
Mr. Howell.

Howell Machine. ' Howell Machine is an=Idaho corporation. Mr. Howell founded

Howell Machine in or:about 1989.~ ‘Howell~.Machine is in the business of
fabricating parts that are used to build the ammoload machines manufactured by
ALW and to maintain the other machinery 'a`nd equipment owned by the other
Debtors Howell Machine shares with ALW facilities in Lewiston, Idaho leased by
HMT from Mr. Howell.

Freedom. Freedom is an Idaho limited liability company located in Lewiston,
Idaho. Mr. Howell founded Freedom in or about 201 1. Freedom is in the business
of selling ammunition. Freedom sells its products online via the
freedommunitions.com website. Freedom also had a retail location in Houston,
Texas that sold ammunition, but that location recently was closed.

M. LCAC is an Idaho limited liability company. LCAC was in the business
of manufacturing shell cases, but no longer conducts business operations LCAC

still owns machinery and equipment with a value in excess of $1.0 million.

. Com}:_ionents Exchange. Components Exchange is an Idaho limited liability

company located in Peck, Idaho. Components Exchange is in the business of

manufacturing and assembling ammunition Components Exchange’s ammunition

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is sold to wholesale and online customers via its ammovalley.com and
reloadingvalley.com websites. Components Exchange operates from production
facilities located iri Peck, Idaho which is leased from Mr. Howell, and operates a
distribution facility located in Lewiston, ldaho. Components Exchange holds a
federal license to manufacture ammunition
Components Exchange’s operations largely have been maintained separately from
the other Debtors
B. Financial Perforw of th§[)ebtors.‘ '
The Debtors, together with non-debtors, 'l`win"River;Contract Loading, Inc. (“Twin River”)
and Big Canyon Environmental, LLC (*‘Big,'Canyon”;),.-prepare financial statements on a
consolidated basis (“Consolidated Companies”).2 The Consolidated Companies’ net sales for the
past several years are as follows: '
1. 2015 -- $85,811,134.
2. 2016 -- $104,671,762.

3. 2017 -- $74,624,745.

4. January 1, 2018 - April 30, 2018 -- $18,405,000.

The Consolidated Companies’ consolidated operations were profitable in 2016, but were
unprofitable in 2017.

The Debtors’ assets consist primarily of the following: cash; accounts receivable;
inventory; machinery and equipment; office equipment, furniture and fixtures; and vehicles The
Consolidated Companies’ audited consolidated balance sheets state that, as of December 31, 2016,
the Consolidated Companies had $46,564,877 in total assets3 The Consolidated Companies’
intemally-prepared consolidated balance sheet states that, as of December 31, ~2017, the

Consolidated Companies had assets with an aggregate value of approximately $30,108,985. The

 

2 Information contained herein regarding the financial affairs of the Consolidated Companies for 2015 and 2016 are
derived from the audited consolidated financial statements for the Consolidated Companies The financial
information for the Consolidated Companies for 2017 and for 2018 derives from unaudited, internally-prepared
financial statements `

3 This calculation of value of the Consolidated Companies’ assets is based upon the net value of the Consolidated
Companies accounts receivable and inventory and upon the cost value of the Consolidated Companies’ property and

equipment, taking into account accumulated depreciation
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difference between the December 31, 2016 and the December 31, 2017 asset valuations relates
primarily to additional accumulated depreciation on property and equipment of the Consolidated
Companies and the Consolidated Companies’ maintaining almost $l0.0 million less in inventory
on December 31, 2017 than on December 31, 2016.

As set forth in the Howell Declaration, the Debtors estimate that the current aggregate fair
market value of the assets of the Debtors and the other Consolidated Companies is approximately
$27,651,000. This calculation does n_ot include real property collateral pledged in favor of the
Bank by Mr. Howell, as described hereinbelow. Lz'_ -r

C. Sec\_ired ClainLAsserted Aggipst the Debtors..~

The following secured claims have been asserted against the Debtors

l. The Bank’s Secured Claims. The Bank is the Debtors’ primary pre-
petition secured lender. On or-about‘November 1'9,~-2014', the Bank advanced a revolving
loan (“Revolving Loan”) and four term loans.to the Debtors (other than Components

Exchange), Twin River, Big Canyon and to Mr. Howell (collectively, “Borrowers”). On or

about July 27, 2015, the Bank advanced a fifth term loan to the Borrowers. Components

Exchange was n_ot a borrower under any of such loans Inforination regarding the

Revolving Loan and the five term loans (“Term Loans”) advanced by the Bank

(collectively, “Loans”) and the Bank’s loan and security agreements as amended,

associated therewith (collectively, “Loan Agreements”) is as follows:“ ‘» -

a. M (as amended on July 27, 2015) -- a revolving loan in the
original principal amount of as much as $9,000,000. This loan matured on July 27,

2016.

b. Loan 2 -- a term loan in the original principal amount of $l ,640,000,

 

amortized on a 20-year basis, with a maturity date of November l, 2024.

c. M§ -- a term loan in the original principal amount of $545,000,
amortized on a 20-year basis, with a maturity date of November l, 2024.

d. _L_M -- a term loan in the original principal amount of $4,815,000,l

. amortized over 5 years, with a maturity date of November 1, 2019. '

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e. Bu_§ -- a term loan in the original principal amount of $2,000,000,
amortized over 5 years, with a maturity date of November l, 2019.

f. Lpgn_6 (made July 27, 2015) -- a term loan in the original principal
amount of $5,000,000, amortized over 5 years, with a maturity date of July 27,
2020.

Mr. Howell, as a co-borrower under the Loans, individually has provided to the Bank
additional collateral for the Loans. He has executed in favor of the Bank».deeds of trust
encumbering those commercial real properties commonly known as 4093 Lucky Lane, Lewiston,
Idaho and 153 Southport Avenue, Lewiston, Idaho. Mr. Howell believes that the aggregate net
value of such collateral is approximately $3.5 - 4.0 million». :'

On or about August 31, 2016, Components Exchange granted to. the Bank a security
interest encumbering assets of Components Exchange in:order to-provide to the Bank additional
collateral for the Loans. Components Exchange is not albo`rrower under any of the Loans.
Components Exchange is evaluating the avoidability of the Bank’s security interest encumbering

Components Exchange’s assets as a possible fraudulent conveyance under Secti'on 548 of the

~Bankruptcy Code.

The Debtors believe that the Bank asserts, as of the date of the filing of the Debtors’
Chapter 11 petitions (“Petition Date”), secured claims in the aggregate amount of approximately
»$l6.7 million against the Borrowers. The Debtors believe further that the Bank asserts that the
Loans are secured by substantially all of the assets of the Debtors (including cash collateral) and
substantially all of the assets of Borrowers Twin River and Big Canyon, and, in the case of
Mr. Howell, real property collateral. The Debtors believe that, at present, the Bank asserts that it
has the following collateral for the Loans:

Be§ Aggregate Egir

grantor Marke Value 0 llater t
` Debtors 824.0 million
»_ Twin River $3.361 million
Big Canvon $290.000
Mr. Howell $3.5 - 4.0 million
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Total Value of Collateral:

$31.351.000 to 31.651.000

2. Other Secured Claimants. The Debtors have conducted lien searches in

order to determine the secured claims asserted against each of the Debtors Based upon

such lien searches the Debtors believe that additional secured claims may be asserted by

the following secured claimants:

Debtgr

a. Clearwater

b

. Components Exchange

ALW

4 d*."-' LCAC

!"`)

. ii X-Treme

Freedom

. Howell Machine

§ecurgd §:laimant
the Bank

the Bank
Tovota Industries

the Bank
the Bank

the Bank
the Bank
Wells Far,qo Bank. N.A.

Corporate Capital Services,
Inc.

the Bank

NMHG Financial Services,
Inc.

Integrity Bank, SSB

the Bank

NMHG Financial Services,
Inc.

Financial Servicing` LLC

Canon Financial Services, Inc.

 

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All Pers',onall_’ronertir Assets

All Personal Pronertv Assets
Forklifts

,. _ 411 Personal Pronertv Assets

All Personal Pronertv\Assets

`Aii Per§onai Prooerc`v Assets

Certain Identified Machinerv
Forklifts: Lift-Trucks
Carbonate/Sulfate Removal System

All Personal Prooertv Assets l
Equipment4 " " "

Inventory, accounts, equipment,
chattel paper, iin'niture and general
intangibles and additions and
replacements thereto5

All Personal ProDertV Assets
All Equipment of Howell Machine

Shoretel Phone Svstem

All Equipment from Canon
Financial Leased or Acquired bv

4 This Secured Clairnant’s UCC-l financing statements lapsed in Api'i12018.

5 Integrity Bank asserts a claim in the amount of approximately $200,000. Integrity Bank’s UCC-l financing
statement was filed on September 19, 2017, and, accordingly, Integrity Bank’s asserted security interest is junior to
the Bank’s asserted security interest

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1 Howell Machine
2 h. HMT the Bank All Personal Pronertv Assets
Wells Fargo Bank. N.A. Lift 'l`rucks: Forklifts
3 Corporate Capital Services, Certain Identified Equipment
4 Inc.
Integrity Bank, SSB Inventory, accounts, equipment,
5 chattel paper, furniture and general
intangibles and additions and
6 ' replacements thereto
7 Toyota Industries Commercial Forklift
Finance. Inc.
8 ' WCP solutions Certain identified Equipment
` 9 ' The Debtors believe that, apart from the Bank and IntegrityBank, none of such
10 ' ’ 14 1 ' b creditors asserts a valid, unavoidable security interest encumbering cash`collateral of the
11 Debtors
"12" ` ii ' The Debtors note that, on or about January 12, 2017, the Alcohol and Tobacco Tax
'13 ' and Trade Bureau (“ATB”) recorded a federal tax lien against the assets of non-debtor
14 Twin River. The ATB’s claim arises from Twin River’s failure to pay to the AT_B excise
15 ` "taxes associated with Twin River’s manufacture of ammunition Twin River filed a federal
16 excise tax return with the ATB and was the company that failed to pay excise taxes to the
17 ATB. The Debtors believe that they have _r_ig liability to the ATB.
1
8 D. -_ Debtors’ Finanei_al Difficulties.
19 . . . . .
In 2016, the Debtors started having financial difficulties The causes of the Debtors’
20
financial difficulties include the following:
21
1. Expansion of Operations. In 2016, the Debtors were expanding rapidly
22
with the purchase of two case manufacturing machines and the building of supplemental
23 . . . .
machines to complete the case manufacturing process The Debtors also were building
24 .
airmioloading machines and other machines to enhance operations The substantial cash
25 . . .
outlays made by the Debtors in this regard proved to be a strain on the Debtors’ liquidity
26
2. . Decline in Ammunition Marketplace. In 2016, the Debtors built up
27
28 6 Integrity Bank asserts a claim in the amount of approximately $200,000. Integrity Bank’s UCC-l Financial
Statement was filed on September 19, 2017, and, accordingly, Integrity Bank’s asserted security interest is junior to
the Bank’s asserted security interest
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inventory in anticipation that Hillary Clinton would win the presidential election in 2016

(i.i, purchases of guns and ammunition generally increase during the administrations of

Democratic presidents based upon some gun owners’ concerns that Democratic

administrations will impose stricter gun control laws). Other ammunition manufacturers

similarly built increased inventories in anticipation of Ms. Clinton’s winning the 2016

presidential election. When President Trump was elected, the demand for ammunition in

the marketplace decreased significantly With an oversupply of ammunition in the : .

. marketplace, the price of ammunition declined significantly
3. Debtors’ Employment of New President. In about January 2017, the

Debtors hired Jansen J ones to serve as the president of the Debtors Mr. Jones proved .to

be an unsatisfactory president Mr. J ones resigned on or about February 18, 2018. . .

;Thus_,dcommencing in 2016, the Debtors-were overburdened with debt based upon a‘ ; '. ‘
ramping up of the Debtors’ operations had too much manufacturing capacity, and faced a
declining market and declining prices for their ammunition products As a result, in 2017, the
Debtors were unprofitable and experienced significant cash flow difficulties

E. Disputes with the Bank.

In 2016, the Borrowers failed to comply with certain financial covenants contained iri the» -
Loan Agreements. Moreover, the Revolving Loan became due on July 27, 2016, and the Bank
declined to extend the Revolving Loan.

The Borrowers acted diligently to address their financial difficulties In 2017, the
Borrowers downsized their businesses The Borrowers liquidated a significant amount of their
inventory in order to generate cash. The Borrowers also undertook two significant reductions in
their workforces, and reduced other operating expenses in order to attempt to return to
profitability

In addition, in 2017, the Borrowers retained Cascadia Capital LLC to raise binding for the
Borrowers However, since the ammunition market was oversatiirated with supply and prices in
the ammunition market were depressed, the only proposals that were obtained from potential

funding sources were deemed to be unsatisfactory.

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The Borrowers continued to pay all accruing payments on the five Term Loans with the
Bank, and to pay interest only payments with respect to the Revolving Loan, until February 2018.

ln or about April 2018, the relationship between the Borrowers and the Bank deteriorated
In or about April 2018, the Bank demanded that Mr. Howell step aside as president of the
corporate Borrowers and as managing member of the limited liability company Borrowers and
that a chiefrestructuring officer be appointed to manage the businesses of the Borrowers The .

Bank rejected a proposed chief restructuring officer proposed by the Borrowers and required that '

the Borrowers consent to the appointment of the chief restructuring officer dictated by the Bank,`:’ ~' » "

or the Bank would pursue its legal remedies against the Borrowers Based upon the Bank’s
threats the Borrowers believed that they had no choice but to employ the chief restructuring

officer demanded by the Bank, and so, on or about April 20, 2018, the Borrowers executed that

.Chief Restructuring Officer Agreement (“CRO Agreement”) required by the Bank, alcopy of ~» " y ' j~- '
.which is_ attached as Exhibit “l” to the Howell Declaration. In accordance with the provisions of . "

,~the CRO Agreement, Mr. Howell agreed to step aside as president of the corporate,»Borrowers and ~:r

as managing member of the limited liability company Borrowers and CFO Solutions LLC was
appointed to act as chief restructuring officer of the Borrowers (“Bank-Appointed CRO”).

The Debtors believe that the CRO Agreement is extraordinarily overreaching and reflects a
wrongful attempt by the Bank to exercise control over the Borrowers Material provisions of the
CRO Agreement include the.following:

l. The Bank-Appointed CRO performs his duties “subject to the oversight of [the

Bank] and with the advice of an advisory board (the “Advisory Board”).”

2. The Bank appoints itself to serve as a member on the Advisory Board.

3. The Bank-Appointed CRO has full authority to operate the business of the
Borrowers The Advisory Board has no authority to approve or disapprove
decisions made or actions taken by the Bank-Appointed CRO.

4. The Bank-Appointed CRO and his team (“Bank-Appointed CRO Team”) has the

authority to sell assets of the Borrowers only with the consent of the Bank.

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5. The Bank-Appointed CRO is authorized to provide to the Bank periodic reports as
the Bank deems appropriate

6. The Bank-Appointed CRO Team is required to assist the Borrowers in restructuring
efforts that the Borrowers (controlled by the Bank-Appointed CRO) and “[the
Bank] may request from time to time.”

7. The Bank-Appointed CRO Team’s services are subject to change as may be agreed
upon by the Bank,

8. -.The Bank-Appointed CRO Team was provided with extremely broad

indemnification rights and exculpation for any loss or damage caused by their acts ' f

consent of the Bank, in accordance with the provisions of the CRO Agreement

z~r.~; and. the Debtors’ Creditors.

The Debtors believe that the Bank-Appointed CRO is a financial consultant, and that, upon
the Bank-Appointed CRO’s appointment, the Bank-Appointed CRO had no knowledge of the
Debtors’ the Debtors’ business operations or the Debtors’ industry. Nevertheless, the Bank-
Appointed CRO took, almost‘immediately after his appointment, acts to change dramatically the
Debtors’ operations such as by closing business operations terminating employees and pursuing
liquidation sales of assets without‘revaluating adequately the consequences of such acts on the
Debtors’ enterprise value. Notwithstanding the Bank-Appointed CRO’s lack of any significant
knowledge of the Debtors’ business or the Debtors’ industry, the Bank-Appointed CRO chose not
to employ Mr. Howell, nor even to consult in any meaningful manner with Mr. Howell regarding
the operations of the Debtors despite the fact that Mr. Howell founded the Debtors and has a
substantial amount of knowledge regarding the financial affairs of the Debtors and the Debtors’
industry.

The Bank-Appointed CRO took, among others the following acts that have caused

substantial damage to the Debtors:

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9..~; . The CRO Agreement may not be terminated without notice absent the prior written: `

F. = :The Bank-Apgointed CRO Took Acts Contra§y to the Interests of the'Debtors "

 

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1. Closing of X-Treme. The Bank-Appointed CRO closed the operations of
X-Treme in Carson City, Nevada and terminated all of X-Treme’s employees with no
severance payments X-Treme was a long-standing enterprise with historically high
quality products and a very solid reputation in the ammunition industry. The Debtors
believe that the closing of X-Treme was unnecessary and very unwise. The closing of X-
Treme caused a substantial loss in value of X-Treme, to the severe detriment of the
Debtors’ creditors z The Debtors are acting to rehire the X-Treme employees and to revive
X-Treme’s operations-.in-Carson City, Nevada.

2. .; Closing of Components Exchang. The Bank-Appointed CRO closed the
operations of Components Exchange, causing substantial damage to Components
Exchange, as well as .alienating one of the largest customers of the other Debtors
Components Exchange was.materially current in paying its accruing obligations to its trade
creditors Closing Components Exchange caused a very substantial loss of necessary cash' » :=
flow for~the Debtors '

3.: Fire Sale of Assets. The Bank-Appointed CRO has pursued a sale of assets
of Debtors for a price substantially below the fair market value of such assets

4. InsuchienLLiw_.entow for Operatiorg. The Bank-Appointed CRO has not
purchased inventory sufficient for the Debtors’ ongoing operations As a result of the
Bank-Appointed CRO’s maintaininginadequate inventory, and conducting of “going out
of business” type sales there has been a significant erosion of the Debtors’ customer base.

5. Closing of FreM’s Retail OpergtM. The Bank-Appointed CRO
closed Freedom’s retail ammunition store located in Houston, Texas without making any
efforts to market that store, notwithstanding the fact that there was a potential buyer for
that store, The closing of that store resulted in a loss of the value of that store and the
leasehold improvements associated therewith

6. Exacerbating of Casl_i~Flow Problems. The Debtors believe that the
Bank-Appointed CRO has turned over to the Bank collections of the Debtors’ receivables

exacerbating the cash flow problems for the Debtors

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7. Closing of Operations of Twin River. The Bank-Appointed CRO closed
the animopack and assembly operations of Twin River, causing a substantial devaluation
of Twin River and substantial disruption and damage to the online sales channel of
Freedom.

8. Failure to Protect the Debtors from ATB Levies. Periodic payments
were being made to the iAT-B in order to try to induce the ATB to forbear from levying on
the ATB’s tax lien. However,l the Bank-Appointed CRO stopped making payments to the
ATB. As a result, the.ATB commenced giving notice to the Debtors’ account debtors to
make payments to the-ATB, rather than to the Debtors and, on or about June 6, 2018, the
ATB levied upon the Debtors’:bank accounts These actions taken by the ATB threatened
the viability of the Debtors’ businesses These Chapter 11 cases were filed, in part, to
obtain a stay ofthe ATB:’s collection actions and thereby protect the Debtors’ operations
and preserve the value of the Debtors? assets
These extraordinarily ill-advised acts taken by the Bank-Appointed CRO have impaired

substantially the operations of the Debtors and have devalued the assets of the Debtors The
Bank-Appointed CRO has alienated major customers of the Debtors and key employees of the
Debtors In effect, the Bank-Appointed`C_R,Q has acted to liquidate, on a “fire sale” basis, the
Debtors’ assets for the sole benefit of the Bank-Appointed CRO’s “benefactor” in this case,
the Bank, to the severe detriment of the Debtors and the Debtors’ other creditors

G. Replacement of Bank-Appointed-CRO.

By reason of the ill-advised acts taken by the Bank-Appointed CRO, substantial damage
has been done to the operations of the Debtors The Debtors believe that, if the Bank-
Appointed CRO were allowed to continue to manage the Debtors’ financial affairs the
viability of the Debtors would be destroyed, with substantial and irrevocable injury being
caused to the Debtors and their creditors

The Debtors believe that the Bank-Appointed, QRO and the Bank, acting in concert, took
control of the Debtors and were acting to liquidate the Debtors’ assets for substantially less

than the value of the Debtors’ assets for the benefit of the Bank, but to the severe detriment

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of the Debtors and the Debtors’ other creditors As set forth in the Howell Declaration, the
Debtors believe that the Bank-Appointed CRO could not be allowed to continue to impair
substantially the operations of the Debtors and the value of the Debtors’ assets Accordingly, in
order to protect and preserve the value of the Debtors’ assets for the benefit of all of the Debtors’
creditors on J urie 7, 2018, the Debtors terminated the employment of the Bank-Appointed CRO,
and former senior management, led by.Mr. Howell as president of the corporate Debtors and Mr.
Howell as managing member of the limited"liability company Debtors resumed control of the
Debtors

On June 8, 2018, the Debtors filed petitions for relief under Chapter 11 of the Bankruptcy
Code commencing these cases.= lt is ithe':Debtors’ current intention to attempt to reorganize their
financial affairs for the benefit of the Debtors’ creditors

The Debtors intend to..file, on or about June 1'2, 2018, a motion to reject, under Section 365
of the Bankruptcy Code, the .CRO Agreement asburdensome and as detrimental to the Debtors’
efforts to reorganize their financial affairs to preserve the value of the estates of the Debtors and
to maximize the recovery of the Debtors’ creditors -~

H. Appointment of J. Michael Issa as .CRO.

The Debtors believe that the acts taken by-:.th_e: Bank-Appointed CRO have caused
substantial damage to the Debtors’ businesses and have been contrary to the interests of the
Debtors and the Debtors’ creditors (other than the Bank). and, consequently, that they had no
choice but to terminate the employment of the Bank-Appointed CRO. The Debtors do desire,
however, to obtain professional and effective assistance in managing the Debtors’ financial affairs
during their Chapter 11 cases Accordingly, on June 7, 2018, the Debtors engaged J. Michael Issa
(“Mr. Issa”) of GlassRatner Advisory & Capital Group LLC (“GlassRatner”) to act as Chief
Restructuring Officer of the Debtors in these Chapter 11 cases The Debtors intend to file
promptly a motion for authority to engage Mr. Issa as their Chief Restructuring Officer.

As set forth in the Issa Declaration, Mr. Issa is a principal of GlassRatner. GlassRatner is a
financial advisory services firm with offices located throughout the country. Mr. Is"sa is a

Certified Public Accountant and has more than 30 years’ experience in bankruptcy ~consulting,

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debt and financial restructuring and forensic accounting Mr. Issa has been involved in more than
100 bankruptcy cases in a variety of capacities including liquidating trustee, interim CEO,
responsible officer and financial advisor. Mr. Issa has served as a chief restructuring officer in a
number of Chapter ll cases and has served as a court-appointed liquidating trustee and a Chapter
11 trustee. Mr. Issa also has knowledge of the gun and ammunition industry, having served as the
financial advisor for the acquisition of Turner’s .Outdoorsman, a multi-unit gun store chain
generating over $100.0 million in annual revenues A true and correct copy of Mr. Issa’s resume
is attached as Exhibit “l” to the Issa Declaration. .

As Chief Restructuring Officer of the Debtors Mr. Issa will provide, in pa.rt, the following
services to the Debtors:

l. Management of the financial affairsof the Debtors;

z 2. Supervision of the administration;of? thel Debtors’ Chapter l l cases including the
preparation of the Debtors’ ‘tSchedules of Assets and Liabilities and Statements of
Financial Affairs and~the financial reporting‘required by the Office of the United
States Trustee;

3. Assistance to the Debtors’ counsel in the negotiation, formulation, confirmation

and implementation of a Chapter ll plan or.plans; and

4. Performance of the services typical of a chief restructuring officer in a Chapter ll

case.

In Mr. lssa’s capacity as Chief Restructuring Officer,‘ he Will effectively act as the chief
executive officer of the corporate Debtors and as a manager of the limited liability company
Debtors

'l`he proposed engagement of Mr. Issa as Chief Restructuring Officer in the Debtors’ cases
will help to ensure that the Debtors’ cases are administered effectively, in compliance with the
requirements imposed upon debtors-in-possession, and for the benefit of the §n_tig creditor body.l

I. _IM)tors’ Cash CollM_l Pror)osal.

The Debtors hereby propose to use any cash collateral of the Bank, and any cash collateral

of any other Secured Claimant, iri accordance with the terms and conditions set forth 'herein.

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1. Budgets. As stated hereinabove, the Debtors, other than Components

Exchange, operated on a consolidated basis Components Exchange generally has
operated separately from the other Debtors Accordingly, separate cash flow projections
of the post-petition operations of Components Exchange and the other Debtors have been
prepared by the Debtors The cash flow projection for Components Exchange
(“Components Exchange Budget”) is attached as Exhibit “2” to the Howell Declaration,
and the consolidated cash flow projection»for the _other Debtors (“Consolidated Budget”) is
attached as Exhibit “3” to the Howell Declaration, (the Components Exchange Budget and
the Consolidated Budget are referredl to=h'erein, icollectively, as “the Budgets”).

Components Exchange will-be authorized to make the expenditures provided for
by the Components Exchange -Budget, and the other_Debtors will be authorized to make
the expenditures provided for in the.=Consolidated'Budget and to exceed the amounts set-v-
forth in their respective Budgets by=`as much as ..1_5%iof-budgeted total; however, if actual
receipts exceed budgeted receipts,~then expenditures may exceed the amount of the
budgeted expenditures set forth in their respective Budgets in proportion to the increase in
actual receipts from budgeted receipts Any expenditures»in excess of this authorization
will require the Written approval of the Bank, or further order;~of` the Court after
appropriate notice. Budget savings in any month under the Consolidated Budget or under
the Components Exchange Budget may be carried over and used by the applicable Debtors
in subsequent months (L, to account for changes in the timing of expenditures by the
Debtors). After the expiration of the term of the Budgets, the Debtors will be able to
obtain use of any cash collateral by filing and serving amended Budgets; if no objection to
the terms of an amended Budget is filed within ten (10) days after the service of such

Budget, such Budget will be deemed to have been approved.

2. Replacement Liens. The Bank asserts a first-priority lien encumbering

cash collateral of the Debtors Based upon the Debtors’ review of the lien searches

~ performed by the Debtors the Debtors’ evaluation of such liens and the Debtors’

knowledge of their'financial affairs the Debtors believe that, apart from the Bank and

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Integrity Bank (a holder of a junior-priority lien), no other Secured Claimant asserts any
valid interest in cash collateral.

As and for additional adequate protection of the Debtors’ use of any cash
collateral, the Bank and any other Secured Claimant asserting an interest in cash collateral
will be granted replacement liens in the Debtors’ post-petition cash, accounts receivable
and inventory, and the proceeds of each of the foregoing, to the same extent and @r_ity as
any duly perfected and unavoidable liens in cash collateral held by the Bank and any such
other Secured Claimant as of the Petition Date, limited to the amount of any cash
collateral of the Bank and any such other Secured Claimant as of the Petition Date, to the
extent that any cash collateral of the Bank and any such other Secured Claimant is actually
used by the Debtors

3. » Reservation of Rights‘. Al!l"right's of'the”Debtors`, any Official Unsecured
Creditors’ Committee that may be appointed \in the Debtors’: cases (the “Committee”) and
all other parties-in-interest will be reserved-to object to the validity, priority and extent of
the Secured Claimants’ liens if any, encinnbering the Debtors’ ~assets.

In addition, the Debtors reserve the right at any time to seek use of cash collateral
on terms different from those proposed herein upon appropriate notice»to the Bank and any
other Secured Claimant asserting a valid interest in cash collateral and to other parties-in-
interest.

4. Financial Reporting. The Debtors will provide to the,Bank»and any other
Secured Claimant asserting a valid interest in cash collateral all monthly operating reports
required to be submitted to the Office of the United States Trustee, and monthly cash flows
reports broken down by the expense line items contained in the Budgets, within 25 days
after the end of each monthly period after the Petition Date.

5. Final Hearing on this Motion. The Debtors request that the Court set a
final hearing on this Motion for the earliest possible date in accordance with.the

. z ¢, requirements of the Local Bankruptcy Rules and the Federal Rules of Bankruptcy

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Procedure. The Debtors reserve the right to seek, at the final hearing on this Motion, use

of cash collateral different from that set forth herein.

As discussed hereinbelow, the Debtors respectfiilly submit that the Debtors’ cash collateral
proposal is fair, provides adequate protection of any interests of the Bank and any other Secured
Claimants in cash collateral, and will enable the Debtors to continue their business operations to
the benefit of the Debtors the Secured Claimants and the Debtors’ other creditors

THE SECURED CLAIMANTS DO NOT HAVE~.AN INTEREST IN
REVENUES GENERATED FROM POST-PETITION SERVICES

Pursuant to Section 552 of the Bankruptcy Code, a secured creditor’s pre-petition liens will
n_o_t extend to property generated by a debtor post-petition or acquired by a debtor post-petition,
unless such property constitutes “proceeds” of their pre-petition collateral. ~ ll»‘U.S.C. § 552(a).7
§e_:§ also, In re Texas Tri-Collar, lnc., 29 B.R. 724, 726-271(Bankr.W.D.La..;l~,983) (pursuant to
Section 552, a creditor’s pre-petition blanket lien doesth extend to post-petition receivables);8 I_n

re Delbridge, 61 B.R. 484 (Bankr.E.D.Mich. 1986) (pre-petition security interest in accounts

:A receivables does not extend to post-petition receivables by operation of § 552)-;-¢In re Big Hook

» _Land & Cattle Co., 81 B.R. 1001, 1003 (Bankr.D.Mont. 1988) (post-petition:increases in cattle

 

7 Section 552(a) provides as follows:

\ (a) Except as provided in subsection (b) of this section, property acquired by the estate or‘. by
the debtor after the commencement of the case is not subject to any lien resulting from any
security agreement entered into by the debtor before the commencement of the case.

ll U.S.C. § 552(a).

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8 The rean fri-collar court stated as follows:
“Given the fact that this security agreement was entered into by [the debtor] before the commencement
of the case, and considering that the receivables generated by [the debtor] after the filing of the petitionj
are "property acquired by the estate or by the debtor alter the commencement of the case", the lien
resulting from the assignment by [the debtor] to First National is rendered ineffective as to postpetition
receivables by operation of section 552(a). [1[]
. . . Since accounts receivable generated after commencement of the case are in no way proceeds
product, offspring, rents or profits of prepetition accounts receivable, Fii'st National's security interest, j
pursuant to the Assignment and Pledge of Accounts Receivable, does not extend to postpetition f ' `l
receivables under section 552(b). [1[] - ~ ‘ §
'F or the foregoing reasons the court is of the opinion that the Assignment and Pledge of Accounts 9 ~ ';
Receivable executed by [the debtor] and First National prior to the commencement of the case does -not~
extend to accounts receivable generated by [the debtor] after the filing of its petition for relief under »1
Chapter 11 of the Bankruptcy Code.”

29 B.R. at 726-727.

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herd through calf crop are not subject to lien resulting from after-acquired property clause in
security agreement and are therefore cut off by § 552(a)); In re Transp. Design & Technology,
In_c., 48 B.R. 635, 641 (Bankr.S.D.Cal. 1985) (patent issued to debtor after filing of petition does
not constitute proceeds of pre-petition patent; it was instead after-acquired property and operation
of § 552(a) cuts off creditor's interest); In re Hamilton, 18 B.R. 868, 871 (Bankr.Colo. 1982)
(crops planted after petition are after-acquired property and § 552(a) cuts off lien).

In this regard, the noted treatise on bankruptcy law, Collier on Bankruptcy, states as

f follows:

It must be emphasized that subsection (b)(l) creates an exception for proceeds
products offspring or profits generated by prepetition collateral, and not for
“after-acquired” property obtained by the debtor or the estate postpetition.

'.5_{Collier on Bankruptcy 1[ 552.02 (16th 2018) (er`nphasis added);citing 124 Cong.:Rec`."Hl 1,097-1-
~11-,098 (daily ed. Sept. 28, 1978);1Sl7,4l4 (daily ed. Oct. 6,` 1978) (“Proceeds coverage, but not
-\after acquired property clauses are valid under title 11”), reprinted in¢App. Pts.`4(f)(i);r 4(f)(iii).

Here, although the Bank asserts liens against substantially all of the assets of the Debtors

and on_;the proceeds generated from this collateral, it is important to recognize that a.partr~o"f the

,Debtors-.’:post-petition income will derive from post-petition services rendered by the,Debtors,

such as the following: performing testing, and developing data, regarding ammunition
performance for for hire customers repairing ammunition manufacturing equipment for :»-
customers and providing customer service, particularly to consumer customers The Debtors’
post-petition cash collections to the extent that they are generated from post-petition services
constitute after-acquired property pursuant to Section 552(a) of the Bankruptcy Code, that is not

subject to any of the exceptions provided for in Section 552(b) of the Bankruptcy Code.9 §e_e_, I_nv

 

9 Section 552(b)(2) of the Bankruptcy Code states as follows:

Except as provided in sections 363, 506(c), 522, 544, 544, 547, and 548 of this title, and notwithstanding »
section 546(b) of this title, if the debtor and an entity entered into a security agreement before the ` ~ "
commencement of the case and if the security interest created by such security agreement extends to property
of the debtor acquired before the commencement of the case and to amounts paid as rents of such property or
the fees, charges accounts or other payments for the use occupancy of rooms and other public facilities'.in
hotels motels, or other lodging properties then such»security interest extends to such rents and such fees 1 '
charges accounts or other payments acquired by the estate after the commencement of the case to the extent
provided in such security agreement, except to the extent that the court, after notice and a hearing and based

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re Bering Trader, Inc., 944 F. 2d 500, 502 (9th Cir. 1991); In re Zeeway Com. 71 B.R. 210,

211 (9th Cir.BAP 1987) (“We analogize to the income generated by a restaurant or retail store,
which although produced in part by the use of the real property upon which business is conducted,
the income is not proceeds of the property but the result of the services provided by the

business.”); In re Skagit Pacific Corp. 316 B.R. 330, 336 (9th Cir.BAP 2004) (“Furthermore,

;'revenue generated by the operation of a debtor's business post-petition, is not considered

proceeds if such revenue represents compensation for goods and services rendered.by. the debtor

in its everyday business performance.”); In re Everett Home Town Limited, 146 B.R-. i453, 456

' (Bankr. D. Ariz. 1992) (cart fees greens fees and restaurant revenues are not cash collateral); I_n

re'McKim, 217 B.R. 97, 98 (Bankr. D. R.I. 1998) (green fees are not cash collateral). '

Accordingly, the Debtors’ adequate protection burden extends only to the value attributable to the

. :`accounts receivable and the cash on hand as of the Petition Date, and -to proceeds generated-from

. the use‘of inventory on hand as of the Petition Date. The Debtors.reserve hereby the right-to

assert\. that any assets that derive from post-petition services rendered by the Debtors do n_nt;3
constitute-any cash collateral of the Secured Claimants. As set forth in~-the Budgets;fsufficient':
replacement collateral will be generated through the Debtors’ post-petition operations in order:to '=~
provide to:the.Secured Claimants adequate protection of any interests that they may have:-therein'.‘ w-.'
IV.
THE DEBTOR_§ SHOULD BE AUTHORIZED TO USE ANY CASH

CoLLATERAL oF THE sECURED cLAIMANTs PURSUANT To 11 U.S.C. §363

The provisions of Section 363(0)(2) of the Bankruptcy Code govern a debtor’s use of cash

collateral. Section 363(c)(2) provides in pertinent part, as follows:

The trustee [or debtor in possession] may not use, sell or

lease cash collateral. . .. unless:

(A) each entity that has an interest in such cash collateral
consents or

(B) the court, after not_ice and a hearing, authorizes _such . _
use, sale, or lease m accordance w1th the provlsions of this section.

 

on the equities of the case, orders otherwise.

11 U.s.c. § 552(b)(2).

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` relevant.ca'sh collateral issues: ..

t w 1 ).: _'~ ';the validity, priority, or extent o`f such interest.

 

 

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ll U.S.C. § 363(0)(2).

Therefore, a court may authorize a debtor’s use of a creditor’s cash collateral in the
absence of creditor consent w, 11 U.S.C. § 363(e).

Section 363(e) of the Bankruptcy Code provides that, upon the request of an entity that has
an interest in property proposed to be used by the debtor, the court may prohibit or condition such
use “,as is necessary to provide adequate protection of such interest.” 11 U.S.C. § 363 (e).:~'

. v;. The Bankruptcy Code clearly delineates the party which bears the burden of proof on‘the

- 1 1 »(l’f)l' the trustee [or debtor in possession] has the burden of proof on the issue of "l ;--

"'-;:z: adequate protection; and

. (2~) - the entity asserting an interest in property has the burden of proof on the issue of

'11U.s~;e;-‘§.363.(0). . 1 l 1 ..

There'fo`re, this Court may authorize the Debtors’ use of any cash'collateral of the Secured 1
Claimants dpb"n`zdetermining that the interests of the Secured Claimants in the cash collateral will
be adequately pfotecited. In re McCombs Properties VI, Ltd., 88 B.R. 261 (Bankr. C.D. Cal.
1988). ’ `

A. The Adequate Protection Burden.

In the case, United Savings v. Timbers of Inwood Forest, 484 U.S. 365, 108 S.Ct. 626
(1988), the United S?tates Supreme Court analyzed and quantified the parameters of the “interest
in property,” referenced in Sections 361, 362(d)(1), and 363(e), which the Bankruptcy Code
undertakes to protect, where required, through adequate protection. This analysis led the Supreme
Court in Iim_be_r_s_ to the conclusion that the “interest in property” referenced in the above sections
of the Bankruptcy Code means and is limited to, the “value of the Collateral.” Ti_ml_)e_rs, 108
S.Ct. at 630. Therefore under the mg analysis the adequate protection provisions in the
Bankruptcy Code protect a secured creditor only from a potential diminution in the value of that

creditor’s collateral during the post-petition period. I£l.

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The “value” oriented adequate protection analysis adopted by the Supreme Court in the

'l`imbers case has been closely adhered to by the courts which have subsequently had occasion to

 

address this issue. §<Lg;, In re Ledgemere Land Co;p., 116 B.R. 338, 343 (Bankr. D. Mass.
1990) (so long as the receivables being collected and used by the debtor are being replaced by
sufficient new receivables in which the creditor is granted a security interest, the creditor is
adequately protected); In re Johnson, 90 B.R. 973, 978 (Bankr. D. Minn. 1988) (secured creditors
is not impairedzand is not entitled to receive adequate protection payments where value of 1 ar
collateral !does not decline); In re Cenw Inv. Fund, VII Ltd. Partnership_, 96 B.R. 884, 887 -.
(Bankr. E.D_.; Wis. 1989) (where value of collateral appears to be stable, secured creditor is not 1= -F- z
entitled toadequate protection payments); In re Kessler, 86 B.R. 134, 136 (Bankr. C:D.`Ill. 1198‘8) " ¢

(under Timbers,. movants are not entitled to adequate protection payments as there was no

showing that propertywas depreciating in value). 1 . ‘~'.-;:'- ~ ; vs ' .' »'

In In re'Elmore=, 94 B.R. 670, 677 (Bankr. C.D. Cal. 1988), the court held that:-'

.[T]he Court finds that the property is not depreciating in value. In consequence, 1
the Court finds that Lomas [Secured Creditor] is adequately protected by the value`
of its collateral The right to receive payments is a simple contract right, that
supports only a claim in the bankruptcy case. There is no other adequate protection
to which Lomas is entitled under the Bankruptcy Code.

Elmore, supra, 94 B.R. at 677 (citation omitted).
In In re McCombs, the court held that:

The analysis of the Supreme Court in Timbers is instructive here. The phrase
“interest in property” in § 363§e) means the value of the collateral. That is the

mterest that I am reg' uired to protect, If that value is likely to diminish during the
time of the use, adequate protection must be provided by the Debtor.

McCombs supr , 88 B.R. at 266 (emphasis added). Accord, In re Delta Resources Inc., 54 F.3d

 

 

722, 730 (11th Cir.), g_e§ denied, 64 U.S.L.W. 3348 (1995); In re Westchase I L.P. 126 B.R. 692,

 

694-95 (W.D.N.C. 1991).

Under the strict value-oriented analysis adopted by the Supreme Court in _'IM (and
adhered to by the well-reasoned cases cited above), the adequate protection inquiry under
Section 363(e) is limited to determining whether the debtor’s use of a secured creditor’s cash
collateral will reduce the value of the creditor’s collateral base. If the debtor can establish that

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the proposed use of the collateral will not cause a decline in the value of the collateral, then court
authorization of such use is appropriate

Not infi'equently, a secured creditor will contend that it somehow has a right to be paid
adequate protection payments post-petition, even where no decline in the value of the collateral is
either occurring or anticipated The Supreme Court in Timbers expressly rejected this very
contention stating: ..

It is obvious (since §§ 361 and 362(d)(1) do not entitle the secured creditor to
immediate payment of the principal of his collateral) that this “realization” is to
“result” not at once, but only upon completion of the reorganization It is then that
he must be assured “realization .. . of the indubitable equivalent” of his collateral.

Timbers?__;108 S.Ct:_at 633.

_ Accordingly, the only relevant inquiry is whether the secured creditor’s collateral itself is

depreciating in value post-petition. Stated otherwise, a secured creditor is not entitled toadequate .

protection payments where its collateral is not depreciating in value post-petition. E, In -re .-Delta

Resources Inc., 54 F.,3d at 730 (“interest in property which must be adequately protected

 

encompasses the decline in'the value of the collateral only, rather than perpetuating the ratio of
the collateral to the debr.”) (e'r_n_pl_i;_lsis added).
The Timbers adequate_protection analysis was further explained in the Ninth Circuit

Bankruptcy Appellate Panel (“BAP”) decision, In re The Preserve LLC, 2010 WL 6259971 (9th

 

Cir. BAP 2010). In The Preserve the debtor’s primary asset was undeveloped land. In B§

 

M, the secured creditor moved"for relief from stay based, in part, upon a lack of adequate
protection under Section 362(d)(lj.:1he‘baru<ruptcy court denied the secured creditor’s motion for
relief from stay. The BAP affirmed the bankruptcy court’s decision, concluding there was no
competent evidence of post-petition depreciation, and that the decline in value of the secured
creditor’s collateral likely occurred prior to, or contemporaneously with, the filing of the petition,

as a result of a depressed real estate market. The BAP held as follows:

“Adequate protection is provided to safeguard the creditor against
depreciation in the value o_f,_i_ts.collateral during the reorganization process. If
the value of the collateral decreases the creditor is entitled to cash payments so
that the value of its interest in,the collateral remains constant.” First Fed. OWB
Cal. v. Weinstein (In re Weinstein), 227 B.R. 284, 296 (9th Cir.BAPl998)
(citations omitted).

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We previously have held that adequate protection payments are intended to
compensate a secured creditor only for losses occasioned by the imposition of
the automatic stay. See Paccom Leasing Corp. v. Deico Elects., Inc. (]n re
Deico Elects., Inc.), 139 B.R. 945, 947 (9th Cir.BAP 1992). Because the
bankruptcy court did not find when the value of the Property declined, but
concluded that any decline in the value of the Property could have occurred
before or at about the time of the petition date, the Property value did not
necessarily decline in value during or as a result of the bankruptcy process

*** In finding that the decline in value of the Property, albeit substantial,
was attributable to general economic conditions and that the decline possibly
predated or was contemporaneous with the filing of the bankruptcy petition,
the bankruptcy court evinced a clear understanding of the applicable legal rule
as set forth ln In re Dez`co Elects., ]nc

*** In these circumstances the bankruptcy court did not err when it
determined that PCF‘s'interest in the Property was adequately protected.
Accordingly, the bankruptcy court did not abuse its discretion when it denied
the `§ 362(d)(1) claim for relief in the RFS Motion.

In re The Preserve LLC, 2010 WL 6259971, *8- 9 (9th Cir. BAP 2010) (emphasis added).

 

The 1aw, then, is clear: no adequate protection payments are required unless there ls a 1 l 14
decline post-petition in the value of the secured creditor’ s collateral which actually impairs the
creditor’ s secured claim. As set forth m detail below, and as evidenced by the Howell
Declaration, the Debtors’ proposal`to".use any cash collateral of the Secured Claimants provides
adequate protection to the Secured Claimants

B. The Debtors Have Satisfied Their Adequate Protection Burdem

The Debtors’ proposed use of any cash collateral of the Secured Claimants provides to the
Secured Claimants adequate protection of any interests which they may have 1n cash collateral.

1. The Secured Claimants’ Interests Are Adeg nater Protected by the

Progosed Replacen&lt Liens. Under the Debtors’ cash collateral proposal, the Secured

Claimants’ interests in any cash collateralwill be adequately protected from a diminution

in value through replacement liens granted to the Secured Claimants and through the

maintenance and preservation of the Debtors’ businesses

Under the Debtors’ proposal, the Secured Claimants will be granted a post-petition
replacement lien on cash, accounts receivable, inventory, and proceeds acquired and/or
generated with any cash collateral with a value equal to the amount of any pre-petition

cash collateral expended by the Debtors. -For example, if the Debtors use $lO0,000 of pre-

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petition cash collateral, the Secured Claimants will be granted a lien, to the extent of
$100,000, in the proceeds of the cash collateral.

Although the replacement liens will, in concept, ensure the preservation of the
Secured Claimants’ interests in any cash collateral, in reality, the liens will perform this
function only if the Debtors in fact, generate at least one dollar of value for every dollar of
cash collateral expended. .The evidence which addresses this issue is contained in the
Howell Declaration and specifically the Components Exchange Budget and in the
Consolidated Budget-, which are attached, respectively, as Exhibits “2” and “3” to the

Howell Declaration. ~”l`he Budgets indicate that the Debtors will operate on a cash flow

" positive basis during_the budgeted period, and that their assets will increase in value

during such period, _

The Debtors believe"'that the 4proj ections"of their business operations as set forth in
the Budgets'are reasonable.. ~As‘set forth in the Howell Declaration, the business
assumptions underlying theoperations projected in the Budgets are reasonable and are
essentially in accordance with the Debtors’ historical experience, as adjusted to take into
account recent or projected events (;&, the cost-cutting measures implemented and to be
implemented by the Debtors). Accordingly, the Debtors believe that the Budgets establish
that the proposed replacement liens-beingugranted to the Secured Claimants will
adequately protect the Secured Claimants’_»alleged interests.

In summary, the Howell Declaration provides evidence to establish that the
Debtors’ use of any cash collateral of the 8ecured Claimants will result in an increase in
the estates’ collateral pool, thereby adequately protecting the Secured Claimants’ interests
in any cash collateral.

2. nrc Sec1_1red CMants Are Adequately Protected by the Maintenance
M Mnofthel)ebw. _To determine the sufficiency of adequate
protection, a bankruptcy court should: (i) establish the value of the secured creditor’s
interest; (ii) identi® the risk, if any, to the value of the secured creditor’s cash collateral

resulting from the debtor’s request for the use of the cash collateral; and (iii) determine

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whether the debtor’s adequate protection proposal protects the value of the cash collateral
as nearly as possible against risk to that value consistent with the concept of indubitable
equivalence McCombs, §_up@, 86 B.R. at 267 (quoting In re Martin, 761 F.2d 472 (8th
Cir. 1985)).

'l`o establish the value of a secured creditor’s interest, the bankruptcy court must
consider the purpose of the valuation, and the proposed disposition or use of the secured
property. E, 11 U.S.C. § 506(a)'. .' ‘?.One of the primary factors to be considered in
valuation is whether the subject:propelty is to be used and retained by the debtor or
whether the property is to be disposed of.” In re Kidsstop of Arnencs Inc., 64 B.R. 397,
401 (M.D. Fla. 1986).'.~» "

Here, any cash collateralconsists of, among other things the collections generated
by the operations of the Debtors ’\ businesses The value of any such cash collateral will
depend, in part, upon .the preservation-ofthe Debtors as going concems. It follows that the
risk to this going concern value of cash_\col'lateral (Which risk is required to be identified
by a court in the McCombs test above)" consists of any cessation in the Debtors’ business

operations E, In re Glasstream Boats lnc.», 11:0 B.R. 611, 612 (M.D. Ga. 1990) (it was

 

in the best interest of both the debtor-in-posse`ssion and the creditor that the debtor
“continue in its operation as a manufacturing facility” and that “denial of this motion
would result in another shut down of the assembly line, which the court doesn’t feel is in
the best interest of either party.”); In re Cann'& 'Saul Steel Co., 76 B.R. 479, 483 (E.D. Pa.
1987) (continued operation of manufacturer debtor was in the best interest of secured
creditor in that it was likely that the secured creditor would realize more funds than it
would by requiring the debtor to cease operations); In re Stein, 19 B.R. 45 8, 460 (Bankr.
E.D. Pa. 1982) (the bankruptcy court allowed a debtor to use cash collateral where the
secured party had no equity cushion for protection, finding that the use of the cash
collateral was necessary to the continued operations of the debtor, and that the creditor's
“secured position can only be enhanced by the continued operation of the [debtor's

business]"); In re Pine Lake Village Apartment Co., 16 B.R. 750, 756 (Bankr. S.D.N.Y.

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1982) (debtor permitted to use cash collateral generated from rental income to preserve the

value of real property which also secured creditor's claim); In re Karl A. Neise Inc., 16

 

B.R. 600, 602 (Bankr. S.D. Fla. 1981) (marginally secured creditor adequately protected
by lien in post-petition property acquired by debtors; debtors can use cash collateral "in
the normal operation of their business").

When cash collateral is used ;to maintain and enhance the value of the debtor’s
underlying business including thef'secured creditor’ collateral, the projected retention and
increase of value is itself a form of-adequate protection and justifies the use of the cash
collateral. VWI Props., LLC:v.‘ Mt. OliveHospitaligg, LLC, Case No. 13-3395, 2014
WL1309953 (D.N.J. Mar.' 3.1, 2014).»Where courts have analyzed the same types of

collateral that are relevant in the instant cases they have found that adequate protection

._ can be provided for the use .of proceeds ofaccounts receivables where the debtor is using

1 the proceeds to generate new inventory and accounts Therefore, “[t]he use of the Bank’s

cash collateral . . . is an element of the Banks’~s.,adequate protection.” Mt. Olive at *4
(quoting Banks Life Ins. Co.r v. Alvucan Interstate:Corp., 12 B.R. 803 (Bankr. D. Utah
1981)).

In assessing adequate protection for accounts receivable and inventory, which by
their nature change in value, courts have held that “the concept [of adequate protection]
consists of stability in collateral value rather than anyl particular level of value." IL@
M, 162 B.R. 389 (Bankr. D.N.H. 1993) (quoting In re T.H.B. Corp., 85 Bankr. 192,
194 (Bankr. D.Mass. 1988)). A secured creditor with liens on “soft collater ” (including
cash and accounts receivables) is considered to be adequately protected where the debtor’s
business operations are projected to maintain more or less the same level of soft collateral,
and even if that level undergoes cyclical fluctuations E. at 397 (“A secured creditor
who takes a blanket lien on soft collateral has to know that the collateral will fluctuate in
its level.”) Moreover, where the debtor is using accounts receivable to generate new
inventory, thus creating new value for a secured creditor, an equity cushion is not

necessary to provide adequate protection in the cash collateral. For example, in Dmaco,

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the court held that, where the value of soft collateral is stable, the Bankruptcy Code “does
not require that the secured claimant be protected by an ‘equity cushion’ on an overall
basis with regard to all collateral securing its loans.” E. at 398. The stability of the
collateral and the fact that it is being used to preserve the debtor’s estate and the secured
creditor’s overall collateral package itself constitutes adequate protection Li.

As discussed at length in the HowellaDeclaration, even a temporary cessation of
the Debtors’ ability to operate their businesses caused by any lack of access to any cash
collateral, will result in a substantial dirninution=\of.the Secured Claimants’ collateral, as
customers will turn to competitors of the ‘Debtors for their ammunition needs. In contrast,
maintenance of the Debtors’ ongoing :operations‘will'preserve the value of the Secured
Claimants’ interests in any cash collateral as nearly as possible against any risk to that
value, thus providing adequate protection, ~.., ~

In addition, the Debtors note that;‘ in order to promote a successful reorganization
of their financial affairs they have:engaged, subject to the approval of the Court, Mr. Issa
to serve as ChiefRestructuring Officer of the Debtors;~.Mr. Issa has about 30 years’
experience providing turnaround consulting services to financially-distressed companies
and to Chapter ll debtors and has played key roles in many:successiill Chapter 11
reorganizations Mr. Issa’s involvement as Chief Restructuring Officer to lead the
Debtors’ efforts to reorganize their financial affairs will serve to enhance the prospects for
a successful reorganization of the Debtors.

'l`hus, the Court should find and determine that the Debtors’ adequate protection proposal

provides adequate protection of any cash collateral of the Secured Claimants and, hence, should
authorize the Debtors’ use of any cash collateral in accordance with the terms and conditions set

forth herein.

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V.
THE DEBTORS SHOULD BE AUTHORIZED TO USE CASH COLLATERAL
IN ORDER TO PROMOTE A SUCCESSFUL REORGANIZ_ATION

In ln re O’Conner, 808 F.2d 1393 (10th Cir. 1987), the Tenth Circuit Court of Appeals
recognized that the ultimate goal of Chapter 11 proceedings is to enhance the prospects of
reorganization In this regard, the Tenth Circuit stated as follows:

[T]he Debtors’ efforts are not only to be encouraged, but also their efforts during

the administration of the proceeding are to be measured in light of that quest. Because g

ultimate benefit to be achieved bv a successful reorganization inures to all the creditors of

the estate, a fair opportunity must be given to the ,_Debtors to achieve that end. ..

In order to encourage the Debtor’s_ efforts in the formative period prior to the _
proposal of a reorganization, the court"must:be flexible in~applying the adequate protectlon

standard.

I_d. at 1397-98 (emp_hasis added); Accord lnre,kDy`-naco:CoQ_ .,_1,62 B.R. at 395 (“[T_]he court Will

 

generally permit the business operations to continne, at least to the point of plan formulation, if

 

the debtors make a solid evidentiary showing to_ support;their projections . .”); In re Heatron Inc.,
6 B.R. 493, 496 (Bankr. W.D. Mo. 1980) (“At the;beginning ofthe__reorganization process the
Court must Work with less evidence than might be desirable and should resolve issues in favor of
the reorganization where the evidence is conflicting.”). 4

Here, a determination to grant to the Debtors’ use of any cash collateral will help promote
the Debtors’ successful reorganization, as it Will allow the Debtors to continue,' uninterrupted, the
normal operations of their businesses The Debtors’ efforts to successfully reorganize their
fmancial affairs in turn, will be to the ultimate benefit of the Secured Claimants by preserving
and enhancing the value of their alleged secured interests In Cann & Saul, M the court found
the debtor’s prospects for a successful reorganization to be a major factor in determination of

adequate protection:

lt is far more significant in the Weight of considerations as to whether a creditor is

“adequately protected” to analyze debtor’s prospects for a successful reorganization in
Chapter ll. If these prospects are strong. .. then the measure of the secured creditor’s
adequate protection is the probability that the debtor will be able to propose an effectlve

plan. »
76 B.R. at 485 (emphasis added).

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In Cann & Saul, the debtor (a steel manufacturer that had been in business for almost a
century) had been losing money each year for a period of at least four years prior to the filing of
its Chapter 11 petition, However, the court found that the debtor had strong potential for
reorganization, given such factors as the debtor’s production of high quality product, the debtor’s
stability and good public image, and the debtor’s acceptance of changes necessary for maintaining
its labor force. _I_d. at 487-88.

Similarly here, the Debtors have a strong potential for a‘successful reorganization The
Debtors have been in business for as many as 29 years The Debtors’ businesses generally have
been successful, have a good reputation in their industry, and possess va good customer base. In
2016, the Debtors together with Twin River and_Big Canyon, generated'over $lO0.0 million in
net sales The Debtors’ management has extensive experience in the Debtors’ industry and has
made, and is committed to continuing to make, changest»`necessary‘to enhance the reorganization
of the Debtors Furthermore, subject to the approval of the Court, the Debtors have employed
Mr. Issa and GlassRatner to assist in the Debtors’ efforts to recognize their financial affairs The

Debtors’ efforts to reorganize, therefore, Will contribute to the adequate protection of the Secured

.Claimants’ interests and support authorizing the Debtors’ use of any cash collateral.

If the Debtors are denied use of cash collateral, in all likelihood they will beforced to
close their businesses and to cease operations Such a cessation of operations even temporarily,

would cause irreparable damage to the Debtors’ businesses in the form of customer defections,

employee attrition, lost revenues and loss of goodwill. If the Debtors were permanently j

prohibited from using cash collateral, they would be forced to close operations and their assets
would need to be liquidated, yielding proceeds totaling a fraction of what the Debtors could
generate by continuing operations and reorganizing their financial affairs Rather than force the
Debtors and their creditors to such a result at this very early stage of the cases the Court should
permit the Debtors to use any cash collateral in order to preserve their ability to reorganize. §§,
In re`(i`reorge Ruggiere Cpgsler-Plygr_routh, Inc. 727 F.2d 1017, 1019 (1 lth Cir. 1984) (f‘Without
the-availability of cash to meet daily operating expenses such as rent, payroll, utilities etci.;-' the

congressional policy favoring rehabilitation over economic failure would be frustrated‘._”);'

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M, 162 B.R. at 396 (finding that the alternative to the debtor’s use of cash collateral - forced
termination of its businesses - would doom any reorganization and any chance to maximize
values for Ll creditors).
VI.
THE SECURED CLAIMANTS‘ INTERESTS ARE ADEOUATELY
PROTECTED BY AN AMPLE EOUITY CUSHION

It is settled law that, if the value of the assets seeming a creditor’s claim exceeds those

7 claims by a reasonable amount then the lender is deemed to be'adequately‘protected. In re

 

Mellorz 734 F. 2d 1396, 1400 (9th Cir. 1984) (“In fact, it has been held that lthe"existence of an

equity cushion standing alone, can provide adequate protection.»~’~’); 'In re Dunes Casino Hotel 69

 

1 _B.R. 784, 795 (Bankr. D.N.J. 1986) (“[i]f the concept of adequate protection is deemed to protect
;l the value of the creditor’s lien from depreciation, the existence of the= substantial equity cushion in

~. this case provides such protection.”); In re C.B.G. Ltd. 150 B‘.R". `1570,' 573 (Bankr:,M‘-.D. Pa. 1992)

 

.(E‘According to the well-researched case of In re McKillips, [8`11' B.R. 454 (Bankr..'N.`D: Ill. 1987)],

1 case law almost uniformly concludes that : (1) an equity cushion of twenty percent (20%) or

, [CHECK QUOTE] constitutes adequate protection . . .”); Baybank-Middlesex v. Ralar` -

Distributors Inc., 69 F. 3d 1200, 1203 (lst Cir. 1995) (“A sufficient equity cushion?i's'~itself~a

 

recognized form of adequate protection.”); In re McCombs Properties VI, Ltd., 88 B.R. 261, 266
(Bankr.'l-C.D. Cal. 1988) (“. . . an equity cushion is an acceptable method of adequate protection
even though the approach is not specifically mentioned in §361.”). ` `i'

Case law confirms that an equity cushion often percent (10%) or more is generally
considered to be adequate protection. E, In re Boodrow, 126 F.3d 43, 53 (2d Cir. 1997) (equity`
cushion of 10% constitutes adequate protection; In re Mellor, 234 F.2d at 1400 (20% equity
cushion found sufficient adequate protection by itself); In re Kost, 102 B.R. 829, 831
(Bankr.D.Wyo. 1989) (“Case law has almost uniformly held that an equity cushion of 20% or ,
more constitutes adequate protection”); In re McKillips 81 B.R. 454, 458 (N.D.Ill. 1987) (equity‘.i
cushion of 20% or more almost always constitutes adequate protection) (collecting cases); I__n_rp

Helionetics 70 B.R. 433, 440 (Bankr.C.D.Cal. 1987) (20% equity cushion is adequate); ln re

 

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Hawaiian Paciflc Industries, 17 B.R. 670 (Bankr.D.Ha. 1982) (15% equity interest is adequate); l_n
M, 2 B.R. 476 (Bankr.C.D.Cal.l979) (15% equity cushion is adequate); ln re McGowan, 6
B.R. 241, 243 (Bankr.E.D.Pa. 1980) (10% equity cushion is adequate); In re Sehliehter, 22 B.R.
666 (Bankr.E.D.Pa. 1982) (12% equity cushion is adequate; In re Carson, 34 B.R. 502, 506 (D.
Kan. 1983) (l 1% equity cushion is adequate); In re Rogers Development Corp, 2 B.R. 679, 685

l _(20% equity cushion is adequate, even where the debtors had no equity in the property).

Thus the first analytical step is to determine whether there is an equity'c`ushion to protect

~: »a»-.creditor’s lien. An equity cushion constitutes an independent basis for adequate protection
~_ Mellor, supra Thus, even if a collateral base is declining (which it is not in this cas`e‘);-'a debtor
z ~ stilljwould be entitled to use cash collateral where there is a sufficient equity cushion because the

_equityv cushion is an independent form of adequate protection

~.' ~;Here, the Bank enjoys a substantial equity cushion :
7 \:. A substantial portion of the Debtors’ income derives from online'sales. 'Online businesses
typically limay sell at 1 X revenues §e_e, Howell Declaration. The Debtors have not ‘yet been able
to assess;adequately the damage done to the Debtors’ businesses by theacts taken by the'Ba'nk-
Appointe___d,.CRO, such as by the closing of X-Treme’s and Components Exchange’s operations »-`.'~
To be conservative, therefore, the Debtors believe that a fair estimate of the valuation of thes'§~""l 1111 »_ z
Debtors’ businesses at this time would be about 0.67 to 0.75 X the Debtors’ revenues Using a
projected revenue rate of $55.0 million this year, the Debtors believe that a fair enterprise :-.:.‘~:r~
valuation of the Debtors’ businesses at this time would be in a range of about $36.85 million to `3 `
$41.25 million

The Bank asserts claims against the Borrowers in the aggregate amount of approximately
$16.7 million Based upon the market sale values set forth above, it is clear that the Bank enjoys
a substantial equity cushion protecting its interest.

In addition, without regard to a market-driven enterprise value of the Borrowers’
businesses the value of the collateral pledged to the Bank by the Borrowers provides ample
protection of the _'l§'ank’s interests As set forth in paragraph II(C)(l) hereof, the Bank asserts

interests in the following collateral:

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Net Efgi§ Market

film Value of Cpllateral (Est. 11
Debtors $24.0 million
Twin River $3,361,000
Big Canyon $290,000
Mr. Howell $3.5 - $4.0 million
- ;,- Total: §31!151;000 to §31!§51£000 ,. .

»-_' '\)` ,'

tr 7'i/k-ec`:ordingly, there ls an estimated aggregate net fair market value of approximately iv
$31,151,000 to $31, 651 ,000 ln collateral to secure repayment of the Bank’ s $16. 7 million secured
claim The Bank enjoys therefore, an equity cushion of approximately 86. 5% to 89. 5% taking
into account only the value of the collateral pledged to the Bank (and not enterprise value).' Under _ .
the Ninth Circuit’ s decision 1n the Mellor case, and under the other well-reasoned cases cited

l_‘ `_-.'"9; l

above, such an equity cushion provides adequate protection of any interest of the Bank m cash _

 

collateral.
l VII.
l v Gool) cAUsE ExlsTs FoR HEARING THIs
7 l MOTION ON AN EMERGENCY BASIS

In recognition of the fact that Section 363 (c) of the Bankruptcy Code operates to deprive a
debtor of the use of critical operating capital as of the filing of the debtor’s Chapter ll petition,
Congress specifically provided in Section 363(c)(3) that a hearing on cash collateral “shall be
scheduled in accordance with the needs of the debtor.” Accordingly, the Bankruptcy Code
expressly anticipates and authorizes expedited hearings on the issue of cash collateral use. _SM,
ll U.S.C. § 363 (e)(3).

Similarly, the Ninth Circuit Court of Appeals has recognized that immediate interim relief

may be crucial to the success of a corporate reorganization

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We realize that ‘in certain circumstances, the entire reorganization effort may be
thwarted if emergency leave is withheld’ and that reorganization under the

Bankruptcy Code ‘is a perilous process, seldom more so than at the outset of the
proceedings when the debtor is often without sufficient cash flow to fund
essential business operations.’ It is for this reason that Congress specified that
hearings concerning the use of cash collateral ‘shall be scheduled in accordance
with the needs of the debtor.’

In re Center Wholesale Inc., 759 F.2d 1440, 1449 n.21 (9th Cir. 1985) (emphasis added) (citations
omitted). § M, In re Sullivan F ord Sales, 2 B.R. 350, 355 (Bankr. D.Me. 1980).

 

Pursuant to Rule 4001(b) of the F ederal Rules of Bankruptcy Procedure, a final hearing on '

a motion to use cash collateral may not be commenced earlier than 14 days after service of such

motion. A bankruptcy court, however, is authorized to conduct an expedited hearing prior to the .
expiration of such 14- day period and to authorize the use of cash collateral to the extent necessary

to avoid immediate and irreparable harm to the Debtor’ s estate F. R B. P. Rule 4001(b)(2)

Rule 4001(b) of the Local Bankruptcy Rules also provides for an expedited hearing for \

. will result if the request is not granted §e_e, LR 4001(b)(2)(A).

As set‘»forth' in the Howell Declaration, the Debtors must have the immediate use of any ’ '
cash collateral to meet payroll obligations (which must be paid by June 18, 2018), to meet the
daily costs and expenses of operating their businesses, to promptly pay their vendors, and to
acquire goods and services to keep their businesses operating Any delay in the Debtors’ ability
to meet one or more of the~aforementioned operating needs could deprive the Debtors of their
ability to successfully reorganize their financial affairs.

Without use of cash collateral, the Debtors will have no ability to operate their businesses.
Without access to cash collateral, the Debtors’ entire restructuring may be jeopardized to the
significant detriment of the Debtors’ estates, their creditors and all of their constituents In light
of the foregoing, the Debtors submit that they have satisfied the requirements of Bankruptcy
Rule 4001(b) to support immediate cash collateral availability pending the entry of the final order
of the Court, Accordingly, to prevent the immediate and irreparable harm that will inure to the
Debtors’ estates, creditors and parties-in-interest absent Court approval of this Motion, the

Debtors respectfully request that the Court grant the relief requested herein and authorize the

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` authorization to use cash collateral, upon the showing that “the immediate and irreparable harm .1.~. v » ‘

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immediate use of cash collateral pursuant to the terms and conditions set forth herein and in
accordance with the Budgets.
VIII.
THE COURT SHOULD SCHEDULE A FINAL HEARING ON THIS
MOTION AS SOON AS POSSIBLE IN ACCORDANCE WITH
THE REOUIREMENTS OF THE l_ZANKRUPTCY RULES

By this ‘\Motion, the Debtors request that the Court schedule a final hearing on this Motion ‘ T:'1?:'

as soon as possible-in accordance with the requirements of the Federal Rules of Bankruptcy 2 iii z ' `

Procedure»and the Local Bankruptcy Rules. '~ »- ` .

~R.ule _400_1.\of the Federal Rules of Bankruptcy Procedure provides that the Court may 1 -.

commence a final hearing on this Motion no earlier than fourteen (14) days after service of the
Motion.-; The»Debtors need to obtain as promptly as possible»approval of the final use .of::cash »
collateral in order_ to assure the Debtors’ employees and vendors that the Debtors will be fable'to '
pay, during the course of these cases, their ordinary operating expenses including, without1 '
limitation, payroll and the expenses of maintenance and operation of their businesses A final
hearing on this Motion should ;he held as soon as possible after the expiration of the fourteen (14)
day period provided for by. Rule'.4001 of the Federal Rules of Bankruptcy Procedure in order to
prevent the substantial damage to the Debtors’ businesses which would result from any loss of
Support of the Debtors’ customers,; employees and vendors caused by a lack of confidence that the
Debtors will have the ability to use cash- collateral during their cases.
7 fx
THE NOTICE OF THIS MOTION PROPOSED TO BE GIVEN TO
CREDITORS AND OTHER PARTIES-IN-INTEREST IS APPROPRIATE

UNDER THE FACTS AND CIRCUMSTANCES OF THE DEBTORS’ CASES

As of the filing of this Motion, no trustee, examiner or Committee has been appointed in
the Debtors’ Chapter 11 cases. In accordance with the provisions of Rule 4001(b)(1) of the
F ederal Rules of Bankruptcy Procedure,- notice of this Motion has been given via electronic

delivery or overnight mail to the Office of the United States 'l`rustee, to the Bank and the Bank’s

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counsel, Integrity Bank, Components Exchange’s twenty (20) largest general unsecured, non-
insider creditors, and to the other Debtors’ twenty largest general unsecured, non-insider creditors.
Because of the exigencies of the Debtors’ cases and the irreparable harm to the Debtors,
their Chapter 11 estates, and all parties-in-interest that will ensue if the relief requested herein is
not granted, the Debtors submit that no further notice need be given. No previous motion for the
relief sought herein has been made to this or to any other court,
X.
CONCLUSION
Based up_on»the foregoing; the Debtors respectfully request that this Court enter its order:
1. 7 ' H'Einding that the Secured Claimants’ interests in any cash collateral are adequately ` »1'~ »
protected;
2. " “f»~Authorizing, on an'interim basis pending final hearing on notice to creditors, the `i ‘
~»-.-;L=Debtors’ immediate.use of any cash collateral of the Secured Claimants pursuant toi»;~li
~ the terms and conditions contained in this Motion;
3. Setting a finaliheari`ng"on this Motion; and
4. Granting to the Debtors such other and further relief as the Court may deem just
and proper under the factssand circumstances of these cases.

DATED: June 13, 2018 WINTHROP COUCHOT
GOLUBOW HOLLANDER, LLP

‘ ` Byi /s/ Robert E. Opera
Robert E. Opera
[Proposed] General Insolvency Counsel for
Debtors and Debtors-in-Possession

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